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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                                       Civil Action No. 19-cv-08758 (ES)(MAH)
CELGENE CORPORATION,
                                                      NOTICE OF MOTION FOR LEAVE TO
              Plaintiff,                                  FILE AMENDED ANSWER,
                                                        AFFIRMATIVE DEFENSES AND
       v.                                                    COUNTERCLAIMS
TEVA PHARMACEUTICALS USA, INC.                                    Electronically Filed

              Defendant.


       PLEASE TAKE NOTICE that on March 16, 2020, or as soon thereafter as counsel may

be heard, the undersigned attorneys for Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) shall

move before the Honorable Michael A. Hammer, U.S.M.J. at the United States District Court of

New Jersey, Martin Luther King Jr. Building and U.S. Courthouse, 50 Walnut Street, Newark,

New Jersey 07101, for entry of an Order granting it leave to file an Amended Answer, Affirmative

Defenses and Counterclaims.

       PLEASE TAKE FURTHER NOTICE that in support of its motion, Teva will rely upon

the moving Brief, Certification of Liza M. Walsh with exhibits annexed thereto, as well as any

submission offered on reply.

DATED: February 21, 2020

                                        s/Liza M. Walsh
                                        Liza M. Walsh
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                                        Joseph L. Linares
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